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 6

 7                                   UNITED STATES BANKRUPTCY COURT

 8                                    CENTRAL DISTRICT OF CALIFORNIA

 9                                         SANTA ANA DIVISION

10

11    In re                                         Case No. 8:19-bk-12480-TA

12    GUY GRIFFITHE,                                Adv. 8:19-ap-01201-TA

13            Debtor                                Before the Honorable Theodore Albert
      _________________________________
                                                    Chapter 7
14
      STEVEN BAGOT,
                                                    REPLY TO OPPOSITION TO MOTION TO
15                                                  DISMISS COMPLAINT OF
                         Plaintiff
                                                    NONDISCHARGEABILITY AND
16                                                  EXCEPTION FROM DISCHARGE OF DEBTS
      vs.
                                                    (1) 11 U.S.C. § 523(a)(2)(A); (2) 11 U.S.C. §
17                                                  523(a)(2)(B); (3) 11 U.S.C. § 523(a)(4); (4) 11
      GUY GRIFFITHE
                                                    U.S.C. § 523(a)(6); (5) 11 U.S.C. § 727(a)(2); (6)
18                                                  11 U.S.C. § 727(a)(3); (7) 11 U.S.C. § 727(a)(4);
                        Defendant
                                                    (8) 11 U.S.C. § 727(a)(5); (9) 11 U.S.C. §
19                                                  727(a)(6); (10) 11 U.S.C. § 727(a)(7); & (11) 11
                                                    U.S.C. § 727(a)(12)
20
                                                    [F.R.C.P. 9(b), 12(b)(6); F.R.B.P. 7009, 7012]
21
                                                    Date: 1-16-2020
22                                                  Time: 10:00 AM
                                                    Place: 411 West Fourth Street, Santa Ana, CA
23                                                  Courtroom: 5B
24             Defendant Guy Griffithe (“Defendant”) hereby replies to the opposition filed by Plaintiff
25   Steven Bagot (“Plaintiff”) to the Motion to Dismiss Complaint of Nondischargeability and Exception
26   from Discharge of Debts (1) 11 U.S.C. § 523(a)(2)(A); (2) 11 U.S.C. § 523(a)(2)(B); (3) 11 U.S.C.
27   § 523(a)(4); (4) 11 U.S.C. § 523(a)(6); (5) 11 U.S.C. § 727(a)(2); (6) 11 U.S.C. § 727(a)(3); (7) 11
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 1   U.S.C. § 727(a)(4); (8) 11 U.S.C. § 727(a)(5); (9) 11 U.S.C. § 727(a)(6); (10) 11 U.S.C. § 727(a)(7);

 2   & (11) 11 U.S.C. § 727(a)(12) (“Complaint”).

 3             First, Plaintiff’s Opposition violates Local Bankruptcy Rule 9013-1(F) that clearly provides

 4   that any opposition must advise the adverse party that any reply must be filed with the court and

 5   served on the responding party not later than 7 days prior to the hearing on the motion; Local

 6   Bankruptcy Rule 9013-1(f). Plaintiff’s opposition makes no such advisement and is therefore properly

 7   not considered.

 8             Second, Plaintiff’s Opposition does nothing to salvage the deficient Complaint. It merely

 9   reiterates and underscores the fatal weakness of this Adversary Proceeding: that the Complaint failed

10   to state a claim upon which relief may be granted. Plaintiff’s Complaint continues to fail to meet even

11   the minimal elements of (1) 11 U.S.C. § 523(a)(2)(A); (2) 11 U.S.C. § 523(a)(2)(B); (3) 11 U.S.C.

12   § 523(a)(4); (4) 11 U.S.C. § 523(a)(6); (5) 11 U.S.C. § 727(a)(2); (6) 11 U.S.C. § 727(a)(3); (7) 11

13   U.S.C. § 727(a)(4); (8) 11 U.S.C. § 727(a)(5); (9) 11 U.S.C. § 727(a)(6); (10) 11 U.S.C. § 727(a)(7);

14   & (11) 11 U.S.C. § 727(a)(12). Plaintiff’s tortured attempt to salvage the deficient Complaint cannot

15   withstand judicial scrutiny, and request for leave to amend is properly denied.

16

17   DATED:           January 6, 2020               LAW OFFICE OF BARUCH C. COHEN
                                                    A Professional Law Corporation
18

19                                                  By     /S/ Baruch C. Cohen
                                                    Baruch C. Cohen, Esq.
20                                                  Attorney For Defendant Guy Griffithe

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 3   MEMORANDUM OF POINTS & AUTHORITIES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -1-

 4             PLAINTIFF RAISES NEW ISSUES IN THE OPPOSITION THAT WERE NOT RAISED

 5                   IN THE COMPLAINT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -1-

 6             PLAINTIFF REPEATEDLY MISSTATES THE OPERATIVE STANDARDS . . . . . . -1-

 7             THIS COURT HAS NO JURISDICTION TO ADJUDICATE A MARIJUANA-RELATED

 8                   DEBT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -2-

 9             PLAINTIFF’S 1st CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF ACTION

10                   UNDER 11 U.S.C. § 727(a)(2) AND IS PROPERLY DISMISSED . . . . . . . . . -5-

11             PLAINTIFF’S 2nd CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF ACTION

12                   UNDER 11 U.S.C. § 727(a)(3) AND IS PROPERLY DISMISSED . . . . . . . . . -6-

13             PLAINTIFF’S 3rd CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF ACTION

14                   UNDER 11 U.S.C. § 727(a)(4) AND IS PROPERLY DISMISSED . . . . . . . . . -7-

15             PLAINTIFF’S 4TH CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF ACTION

16                   UNDER 11 U.S.C. § 727(a)(5) AND IS PROPERLY DISMISSED . . . . . . . . . -8-

17             PLAINTIFF’S 5TH CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF ACTION

18                   UNDER 11 U.S.C. § 727(a)(6) AND IS PROPERLY DISMISSED . . . . . . . . . -9-

19             PLAINTIFF’S 6TH CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF ACTION

20                   UNDER 11 U.S.C. § 727(a)(7) AND IS PROPERLY DISMISSED . . . . . . . . . -9-

21             PLAINTIFF’S 7TH CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF ACTION

22                   UNDER 11 U.S.C. § 727(a)(12) AND IS PROPERLY DISMISSED . . . . . . . -10-

23             PLAINTIFF’S 8th CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF ACTION

24                   UNDER 11 U.S.C. § 523(a)(2)(A) AND IS PROPERLY DISMISSED . . . . . -10-

25             PLAINTIFF’S 9TH CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF ACTION

26                   UNDER 11 U.S.C. § 523(A)(4) FOR                                FRAUD OR DEFALCATION WHILE

27                   ACTING IN A FIDUCIARY CAPACITY, EMBEZZLEMENT, OR LARCENY AND

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 1                       IS PROPERLY DISMISSED . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -12-

 2             PLAINTIFF’S 10TH CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF ACTION

 3                       UNDER 11 U.S.C. § 523(A)(6) FOR WILFUL & MALICIOUS INJURY AND IS

 4                       PROPERLY DISMISSED . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -13-

 5             PLAINTIFF SHOULD NOT BE GRANTED LEAVE TO AMEND . . . . . . . . . . . . . . -13-

 6             CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -14-

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 3   Accord Keeney v. Smith (In re Keeney), 227 F.3d 679, 685 (6th Cir. 2000) . . . . . . . . . . . . . . . -13-

 4   Ashcroft v. Iqbal, 556 U.S., 129 S. Ct. 1937 (2009) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -1-

 5   Bell Atl Corp. v. Twombly, 550 U.S. 544, 570 (2007) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -1-

 6   Chambliss v. Coca-Cola Bottling Corp., 274 F. Supp. 401, 409 (E.D. Tenn. 1967), aff'd on other
     grounds, 414 F.2d 256 (6th Cir. 1969), cert. denied, 397 U.S. 916, 25 L. Ed. 2d 97, 90 S. Ct. 921
 7   (1970) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -1-

 8   Chase Manhattan Bank v. Carpenter (In re Carpenter), 53 B.R. 724 (N.D. Ga. 1985) . . . . . . -11-

 9   Hill v. Trustees of Ind. Univ., 537 F.2d 248, 251 (7th Cir. 1976) . . . . . . . . . . . . . . . . . . . . . . . . -1-

10   In re Arenas, 514 B.R. 887 (Bankr. D. Colo. 2014) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -3-

11   In re Garcia, 168 B.R. 403 (D. Ariz. 1994) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -5-

12   In re Lawson, 122 F3d 1237 (CA9 1997) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -5-

13   In re Spar, 176 B.R. 321 (Bankr. S.D.N.Y. 1994) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -10-

14   In re Zimmerman, 320 B.R. at 806 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -8-

15   Jacobson v. Peat, Marwick, Mitchell & Co., 445 F. Supp. 518, 526 (S.D.N.Y. 1977) . . . . . . . . -1-

16   Lansdowne v. Cox (In re Cox), 41 F.3d 1294, 1296 (9 Cir. 1994) . . . . . . . . . . . . . . . . . . . . . . . -6-

17   Limestone Dev. Corp. v. Vill. of Lemont, 520 F.3d 797, 802-03 (7th Cir. 2008) . . . . . . . . . . . . -1-

18   Martin v. Morgan Drive Away, Inc., 665 F.2d 598, 602 n.1 (5th Cir.), cert. dismissed, 458 U.S. 1122,
     73 L. Ed. 2d 1394, 103 S. Ct. 5 (1982) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -1-
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     Matter of Beaubouef, 966 F.2d 174, 178 (5th Cir 1992), cited in In re Spitko, 357 B.R. at 312
20   . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -8-

21   Matter of Scarlata, 979 F.2d 1521 (7th Cir. 1992) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -10-

22   Montgomery Ward and Co., Inc. v. Blackburn (In re Blackburn), 68 B.R. 870 (Bankr. N.D. Ind. 1987)
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26   Cal. Nov. 29, 2011) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -4-

27   Peoples Security Finance Co. v. Todd (In re Todd), 34 B.R. 633 (Bankr. W.D. Ky. 1983) . . . -11-

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 1   Rent-Rite Super Kegs West Ltd., 484 B.R. 799 (Bankr. D. Colo. 2012) . . . . . . . . . . . . . . . . . . . -4-

 2   Richard P. v. Vista Del Mar Child Care Service (1980) 106 Cal.App.3d 860, 865.) . . . . . . . . -11-

 3   Sansom Comm. v. Lynn, 366 F. Supp. 1271, 1278 (E.D. Pa. 1973) . . . . . . . . . . . . . . . . . . . . . . -1-

 4   Steadfast Ins. Co. v. Woodside Group, LLC (In re Woodside Group, LLC), 2009 Bankr. LEXIS 4360
     (Bankr. C.D. Cal. Dec. 30, 2009) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -2-
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     Swicegood, 924 F.2d at 232 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -8-
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     United States v. Cooper, 375 F.3d 1041, 1049 (10th Cir. 2004) . . . . . . . . . . . . . . . . . . . . . . . . . -2-
 8
     United States v. Deiter, 890 F.3d 1203, 1214 (10th Cir. 2018) (quoting Rosemond v. United States,
 9   572 U.S. 65 (2014) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -2-

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13   11 U.S.C. § 522(q)(1)(A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -1-

14   11 U.S.C. § 522(q)(1)(B) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -1-

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16   11 U.S.C. §523(a)(6) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -14-

17   11 U.S.C. § 523(d) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -1-

18   11 U.S.C. § 524(a)(1) and (2) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -11-

19   11 U.S.C. § 727(a)(5) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -3-

20   11 U.S.C. § 727(a)(6)(A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -8-

21   18 U.S.C. § 2 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -1-

22   21 U.S.C. § 841(a)(1) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -5-

23   21 U.S.C. § 856(a)(1) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -5-

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25   28 U.S.C. § 841(a)(1) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -8-

26   28 U.S.C. § 843(a)(7) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -1-

27   F.R.B.P. 7008 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -6-

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 1   1.        MEMORANDUM OF POINTS & AUTHORITIES

 2             a.     PLAINTIFF RAISES NEW ISSUES IN THE OPPOSITION THAT WERE NOT

 3                    RAISED IN THE COMPLAINT

 4             The complaint may not be amended by the briefs in opposition to a motion to dismiss.

 5   Jacobson v. Peat, Marwick, Mitchell & Co., 445 F. Supp. 518, 526 (S.D.N.Y. 1977); Sansom Comm.

 6   v. Lynn, 366 F. Supp. 1271, 1278 (E.D. Pa. 1973); Chambliss v. Coca-Cola Bottling Corp., 274 F.

 7   Supp. 401, 409 (E.D. Tenn. 1967), aff'd on other grounds, 414 F.2d 256 (6th Cir. 1969), cert. denied,

 8   397 U.S. 916, 25 L. Ed. 2d 97, 90 S. Ct. 921 (1970). Similarly, consideration of a motion to dismiss

 9   is limited to the pleadings. Hill v. Trustees of Ind. Univ., 537 F.2d 248, 251 (7th Cir. 1976); Martin

10   v. Morgan Drive Away, Inc., 665 F.2d 598, 602 n.1 (5th Cir.), cert. dismissed, 458 U.S. 1122, 73 L.

11   Ed. 2d 1394, 103 S. Ct. 5 (1982).

12             Here, Plaintiff’s attempt to improperly plead new facts in the opposition to Complaint: (1)

13   Defendant-Debtor’s Debt to Plaintiff (Opposition, p.7); (2) Plaintiff’s Initial “Purchase of Interest”

14   (Opposition, p.7); (3) Plaintiff’s Subsequent “Purchase of Interest” for Fraudulent Purpose of

15   Purchasing Oil Processing Machine (Opposition, p.8); (4) Subsequent Events (Opposition, p. 10); (5)

16   The Defendant-Debtor’s Continued Fraudulent Statements and Transfers, Concealment, and Other

17   Wrongs After the Commencement of the King County Superior Court Litigation (Opposition, p. 12);

18   & (6) The WSLCB Investigation (Opposition, p. 12). Plaintiff should be precluded from ambushing

19   and sandbagging Defendant with this new set of facts, not included in the Complaint.

20             b.     PLAINTIFF REPEATEDLY MISSTATES THE OPERATIVE STANDARDS

21             The standards for general pleading have been raised pursuant to Ashcroft v. Iqbal, 556 U.S.,

22   129 S. Ct. 1937 (2009) and Bell Atl Corp. v. Twombly, 550 U.S. 544, 570 (2007). As provided in a

23   recent decision of the Central District: Twombly raised the bar for notice pleadings under Rule 8(a)

24   such that a complaint will not survive a motion to dismiss under Rule 12(b) unless "the

25   non-conclusory 'factual content,' and reasonable inferences from that content . . . plausibly [suggest]

26   a claim entitling the plaintiff to relief." Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009);

27   see Limestone Dev. Corp. v. Vill. of Lemont, 520 F.3d 797, 802-03 (7th Cir. 2008) (stating that

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 1   Twombly "teaches that a defendant should not be forced to undergo costly discovery unless the

 2   complaint contains enough detail, factual or argumentative, to indicate that the plaintiff has a

 3   substantial case"). Steadfast Ins. Co. v. Woodside Group, LLC (In re Woodside Group, LLC), 2009

 4   Bankr. LEXIS 4360 (Bankr. C.D. Cal. Dec. 30, 2009). Plaintiff’s adversary complaint does not meet

 5   this minimum standard. Moreover, when considered in light of the more exacting pleading

 6   requirements applicable to purported fraud claims, [see below], Plaintiffs do not even come close.

 7   Plaintiffs’ attempt to mischaracterize and lower the standards acting as hurdles to its claims does not

 8   end at the overall applicable pleading standard. Plaintiff bends over backwards in an attempt to

 9   convert vague insinuations allegations of bankruptcy fraud to actual instances of bankruptcy fraud.

10   When read carefully, clause by clause, allegation by allegation, the Complaint says nothing about

11   Defendant’s actions that would rise to a 523-727 violation. Nothing. Plaintiff’s opposition did not

12   even address, let alone explain, the deficiencies of its’ complaint.

13             c.     THIS COURT HAS NO JURISDICTION TO ADJUDICATE A MARIJUANA-

14                    RELATED DEBT

15             While the Debtor is not a marijuana-related debtor, and the referenced company complies with

16   Washington state law, the Complaint makes it clear that the debt in question, to this Plaintiff, is a

17   marijuana-related investment/debt.

18             Based on the Complaint & Opposition, the Defendant’s company directly “manufactures,

19   distributes, or dispenses, or possesses with intent to manufacture, distribute, or dispense, a controlled

20   substance[.]” 21 U.S.C. § 841(a)(1). Therefore, if the Defendant is violating § 841(a)(1), he is doing

21   so indirectly, through one or more theories of legal complicity.

22             Under federal law, aiding and abetting criminal activity is itself criminalized pursuant to 18

23   U.S.C. § 2, which provides “[w]hoever commits an offense against the United States or aids, abets,

24   counsels, commands, induces or procures its commission, is punishable as a principal.” United States

25   v. Cooper, 375 F.3d 1041, 1049 (10th Cir. 2004). ’[U]nder § 2, those who provide knowing aid to

26   persons committing federal crimes, with the intent to facilitate the crime, are themselves committing

27   a crime.’” United States v. Deiter, 890 F.3d 1203, 1214 (10th Cir. 2018) (quoting Rosemond v.

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 1   United States, 572 U.S. 65 (2014)).

 2             The question before this court would be whether the Subscription Agreement contract for the

 3   marijuana-related investment/debt was enforceable notwithstanding the CSA.

 4             Since 1970, the federal government has prohibited selling, growing and distributing marijuana

 5   through the Controlled Substances Act, or CSA. The CSA categorizes marijuana as a Schedule I

 6   controlled substance and makes a variety of activities related to marijuana illegal, including using,

 7   selling and manufacturing marijuana; financing businesses that sell or manufacture marijuana; leasing

 8   property to any such business; and selling related drug paraphernalia. One of the broadest prohibitions

 9   under the CSA is found in what is known as “Prohibited Acts C,” which makes it “unlawful for any

10   person knowingly or intentionally ... to manufacture, distribute, export, or import ... any equipment,

11   chemical, product, or material which may be used to manufacture a controlled substance or listed

12   chemical, knowing, intending, or having reasonable cause to believe, that it will be used to

13   manufacture a controlled substance.” See, 28 U.S.C. § 841(a)(1), 28 U.S.C. § 843(a)(7), 21 U.S.C.

14   § 856(a)(1), 21 U.S.C. § 856(a)(2).

15             In Arenas, 514 B.R. 887 (Bankr. D. Colo. 2014), the U.S. Bankruptcy Court for the District

16   of Colorado dismissed a bankruptcy case in which the Chapter 7 trustee would be required to

17   administer marijuana-related assets. In Arenas, the debtors, who operated a marijuana grow facility

18   and leased commercial space to a marijuana dispensary, filed for relief under Chapter 7 of the

19   Bankruptcy Code. Upon the UST’s motion to dismiss the debtors’ case, the court was forced to assess

20   the Chapter 7 trustee’s ability to administer the marijuana-related assets. The court ultimately

21   dismissed the case not only because of the debtors’ violation of the CSA but also because

22   administering the estate’s assets would require both the court and the Chapter 7 trustee to participate

23   in the debtors’ ongoing federally prohibited activity. The Arenas court reasoned: [T]he Debtors’

24   chapter 7 trustee … cannot take control of the Debtors’ Property without himself violating [the CSA].

25   Nor can he liquidate the inventory of marijuana plants Mr. Arenas possessed on the petition date

26   because that would involve him in the distribution of a Schedule I controlled substance in violation

27   of [the CSA]. The Court finds that administration of this case under chapter 7 is impossible without

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 1   inextricably involving the Court and the Trustee in the Debtors’ ongoing criminal violation of the

 2   CSA[.] For the Trustee to take possession and control of the Debtors’ Property and marijuana

 3   inventory would directly involve him in the commission of federal crimes. To allow the Debtors to

 4   remain in a chapter 7 bankruptcy case under circumstances where their Trustee is unable to administer

 5   valuable assets for the benefit of creditors would allow them to receive discharges without turning

 6   over their non-exempt assets to the Trustee. That would give the Debtors all of the benefits of a

 7   chapter 7 bankruptcy discharge while allowing them to avoid the attendant burdens. The impossibility

 8   of lawfully administering the Debtors’ bankruptcy estate under chapter 7 constitutes cause for

 9   dismissal of the Debtors' case under 11 U.S.C. § 707(a).[3]. On appeal, the Bankruptcy Appellate

10   Panel for the Tenth Circuit affirmed the bankruptcy court, opining “that while the debtors have not

11   engaged in intrinsically evil conduct, the debtors cannot obtain bankruptcy relief because their

12   marijuana business activities are federal crimes.”

13             In Rent-Rite Super Kegs West Ltd., 484 B.R. 799 (Bankr. D. Colo. 2012), the U.S. Bankruptcy

14   Court for the District of Colorado considered a motion to dismiss a Chapter 11 case in which the

15   debtor derived 25% of its revenue from leasing warehouse space to marijuana businesses. Citing the

16   CSA, the court concluded the debtor was in continuing violation of federal law during its bankruptcy

17   case, explaining: [E]ven if the Debtor is never charged or prosecuted under the CSA, it is conducting

18   operations in the normal course of its business that violate federal criminal law. Unless and until

19   Congress changes that law, the Debtor's operations constitute a continuing criminal violation of the

20   CSA and a federal court cannot be asked to enforce the protections of the Bankruptcy Code in aid of

21   a Debtor whose activities constitute a continuing federal crime.

22             In Northbay Wellness Group v. Beyries (In re Beyries), No. 10-1181, 2011 WL 5975445

23   (Bankr. N.D. Cal. Nov. 29, 2011), plaintiff sold medical marijuana. Debtor was their attorney.

24   Plaintiff sought a nondischargeability judgment based on the attorney’s knowing misrepresentations

25   concerning plaintiff’s sales tax obligations. While the court held the debt met the elements of 11

26   U.S.C. § 523(a)(4), the court ruled it could not enter a judgment for plaintiff because they engaged

27   in unlawful activity. Even though the activity was legal under state law, in a federal court the parties

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 1   were “conspiring to sell contraband.” The court found the plaintiff in pari delicto and dismissed the

 2   adversary.

 3             Defendant posits, that this Court’s adjudication of this marijuana-related investment/debt,

 4   would require the court to participate in the Debtors’ ongoing federally prohibited activity, which

 5   would be impossible without inextricably involving the Court in the Debtors’ ongoing marijuana-

 6   related investment, and would reward this bankruptcy creditor from receiving funds from the

 7   Defendant derived from CSA violations. This Bankruptcy Court cannot be asked to enforce the

 8   protections of the Bankruptcy Code in aid of a nondischargeagbility finding regarding a marijuana-

 9   related investment/debt, which constitutes a continuing federal crime. This Court cannot enter a

10   judgment for Plaintiff because Plaintiff engaged in the unlawful activity derived from CSA violations.

11   Any judgment to this Plaintiff could be subject to forfeiture and are therefore illusory. Again, while

12   the individual Debtor is not a marijuana-related debtor, and the referenced company complies with

13   Washington state law, this Complaint makes it clear that the debt in question is a marijuana-related

14   investment/debt.

15             d.     PLAINTIFF’S 1st CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF

16                    ACTION UNDER 11 U.S.C. §727(a)(2) AND IS PROPERLY DISMISSED

17             Two elements comprise an objection to discharge under 11 U.S.C. § 727(a)(2)(A): 1) a

18   disposition of property by or at the sufferance of the debtor by transfer, removal, destruction,

19   mutilation, or concealment; and 2) a subjective intent on the debtor's part to hinder, delay or defraud

20   a creditor through the act disposing of the property. Both elements must take place within 1-year of

21   the Petition Date of 6-26-2019 (the one-year pre-filing period); acts and intentions occurring before

22   this period are forgiven. In re Lawson, 122 F3d 1237 (CA9 1997). This section is construed liberally

23   in favor of the debtor and strictly against those objecting to discharge. Before a court can refuse a

24   discharge under 11 U.S.C. § 727(a)(2)(A), it must be shown that there was an actual transfer of

25   valuable property belonging to the debtor which reduced the assets available to the creditors and

26   which was made with fraudulent intent. In re Garcia, 168 B.R. 403 (D. Ariz. 1994).

27             Pursuant to the Complaint’s 1st Cause of Action for Nondischargeability of Debt Pursuant to

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 1   11 U.S.C § 727(a)(2), Plaintiff alleges: that on 6-26-2019, Defendant filed for Chapter 7 bankruptcy

 2   (Complaint ¶ 7), and that within one year before the (6-26-2019) petition date, Defendant transferred,

 3   removed, destroyed, mutilated, or concealed, or permitted to be transferred, removed, destroyed,

 4   mutilated, or concealed, the Defendant-Debtor's property and funds. (Complaint ¶ 51). However, the

 5   Complaint fails to identify the Defendant’s assets in question that were allegedly transferred, removed,

 6   destroyed, mutilated, or concealed, and whether they were transferred, removed, destroyed, mutilated,

 7   or concealed within the one-year pre-filing period (6-26-2018 through 6-26-2019).

 8             The Plaintiff’s 11 U.S.C. § 727(a)(2) claim states that it is based on the WSLCB Narrative /

 9   Evidence Report (the “WSLCB Report”) that is attached as an exhibit to the Complaint. (Complaint

10   ¶¶ 46, 47, 48, 49) claiming that the WSLCB Report that concluded that Defendant: (a) transferred,

11   removed, or destroyed his property and funds within one year before the date of the filing of the

12   instant bankruptcy petition; & (b) concealed or mutilated his property and funds within one year

13   before the date of the filing of the instant bankruptcy petition. (Complaint ¶¶48(a), 48(b). However,

14   the WSLCB Report makes no such finding.

15             Plaintiff improperly plead new facts in the opposition to Complaint, including Exhibits 2-3

16   to the Opposition. Assets not accounted for, is not tantamount to a transfer.

17             There is still no factual allegation in the Complaint of any subjective intent on the Defendants’

18   part to hinder, delay or defraud a creditor, or any creditor, from 6-26-2018 through 6-26-2019.

19   Accordingly, Plaintiff’s 1st Cause of Action under 11 U.S.C. § 727(a)(2)(A) is properly dismissed

20   without leave to amend.

21             e.     PLAINTIFF’S 2nd CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF

22                    ACTION UNDER 11 U.S.C. § 727(a)(3) AND IS PROPERLY DISMISSED

23             In order to state a prima facie case under section 727(a)(3), a creditor objecting to discharge

24   must show (1) that the debtor failed to maintain and preserve adequate records, and (2) that such

25   failure makes it impossible to ascertain the debtor’s financial condition and material business

26   transactions.” Once the objecting party shows that the debtor’s records are absent or are inadequate,

27   the burden of proof then shifts to the debtor to justify the inadequacy or nonexistence of the records.

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 1   Lansdowne v. Cox (In re Cox), 41 F.3d 1294, 1296 (9 Cir. 1994).

 2             The Plaintiff’s 11 U.S.C. § 727(a)(3) claim states that it is based on the WSLCB Report that

 3   is attached as an exhibit to the Complaint. (Complaint ¶¶ 46, 47, 48, 49) claiming that the WSLCB

 4   Report concluded that Defendant: (c) concealed, destroyed, mutilated, falsified, or failed to keep or

 5   preserve any recorded information, including books, documents, records, and papers, from which the

 6   debtor's financial condition or business transactions might be ascertained. However, the WSLCB

 7   Report makes no such finding.

 8             While Plaintiff claims that the Defendant failed to provide an accounting required by the

 9   parties' Letter of Understanding or second Subscription Agreement (Complaint ¶¶ 22, 30, 36) that was

10   not regarding the Defendant’s personal financial condition as required by 11 U.S.C. §727(a)(3).

11             Further, Plaintiff’s Opposition (p. 19, lines 8-9) concludes (with no factual support): “There

12   are no records accounting for the initial $450,000.00 Mr. Bagot provided to Defendant-Debtor.” No

13   facts were presented to support this baseless conclusion. This allegation, falls short from the criteria

14   that Defendant failed to maintain records.

15             Further, the Complaint does not specify whether such act or failure to act was justified under

16   all of the circumstances of the case. If anything, the Complaint references that Plaintiff served

17   Defendants with written discovery in the King County Superior Court Case No. 19-2-00772-9 SEA,

18   but does not specify whether the sought after information was regarding the Defendant’s personal

19   financial condition or regarding the parties' Letter of Understanding or second Subscription

20   Agreement, and admits that Defendant objected to Plaintiff’s written discovery invoking his privilege

21   against self-incrimination (Complaint ¶¶ 38-39) (a justified objection). Said discovery was not a

22   judgment debtor’s examination of the Defendant’s personal assets.

23             Plaintiff improperly plead new facts in the opposition to Complaint, including Interrogatory

24   requests 6, 7, 17, Document Demands 2, (Opposition, p. 19, lines 18-21) and footnote 6.

25             Accordingly, Plaintiff’s 2nd Cause of Action under 11 U.S.C. §727(a)(3) is properly dismissed

26   without leave to amend.

27             f.     PLAINTIFF’S 3rd CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF

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 1                    ACTION UNDER 11 U.S.C. § 727(a)(4) AND IS PROPERLY DISMISSED

 2             A plaintiff seeking denial of a debtor’s discharge under § 727(a)(4)(A) must prove that:

 3   (1) [the debtor] made a statement under oath; (2) the statement was false; (3) [the debtor] knew the

 4   statement was false; (4) [the debtor] made the statement with fraudulent intent; and (5) the statement

 5   related materially to the bankruptcy case. Matter of Beaubouef, 966 F.2d 174, 178 (5th Cir 1992),

 6   cited in In re Spitko, 357 B.R. at 312. Accord Keeney v. Smith (In re Keeney), 227 F.3d 679, 685 (6th

 7   Cir. 2000); Moore v. Strickland (In re Strickland), 350 B.R. 158, 163 (Bankr. D. Del. 2006). See also

 8   In re Zimmerman, 320 B.R. at 806. A party objecting to discharge under § 727(a)(4)(A) must prove

 9   by a preponderance of the evidence that “the false oath [was] fraudulent and material.” Swicegood,

10   924 F.2d at 232

11             The Plaintiff’s 11 U.S.C. § 727(a)(4) claim states that it is based on the WSLCB Report that

12   is attached as an exhibit to the Complaint. (Complaint ¶¶ 46, 47, 48, 49) claiming that the WSLCB

13   Report concluded that Defendant: (d) fraudulently made false accounts, presented or used false claims.

14   (Complaint ¶ 48 (d) However, the WSLCB Report makes no such finding. Accordingly, Plaintiff’s

15   3rd Cause of Action under 11 U.S.C. §727(a)(4) is properly dismissed without leave to amend.

16             g.     PLAINTIFF’S 4TH CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF

17                    ACTION UNDER 11 U.S.C. § 727(a)(5) AND IS PROPERLY DISMISSED

18             The elements that comprise an objection to discharge under 11 U.S.C. § 727(a)(5): the debtor

19   failed to explain satisfactorily, before determination of denial of discharge under this paragraph,

20   any loss of assets or deficiency of assets to meet the debtor's liabilities. 11 U.S.C. § 727(a)(5) does

21   not explicitly require a creditor to call upon a debtor to explain a loss of assets prior to filing an

22   adversary proceeding. A denial of discharge under § 727(a)(5) requires only that the debtor fail to

23   explain a loss of assets “before determination of denial of discharge under this paragraph.” To require

24   a creditor to seek an explanation from the debtor prior to filing an adversary hearing would add an

25   additional and redundant layer of inquiry to § 727(a)(5).

26             The Plaintiff’s 11 U.S.C. § 727(a)(5) claim states that it is based on the WSLCB Report that

27   is attached as an exhibit to the Complaint. (Complaint ¶¶ 46, 47, 48, 49) claiming that the WSLCB

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 1   Report concluded that Defendant: (g) failed to explain any loss of assets or deficiency of assets to

 2   meet his liabilities (Complaint ¶¶48(g). However, the WSLCB Report makes no such finding.

 3   Accordingly, Plaintiff’s 4th Cause of Action under 11 U.S.C. §727(a)(5) is properly dismissed without

 4   leave to amend.

 5   ///

 6             h.     PLAINTIFF’S 5TH CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF

 7                    ACTION UNDER 11 U.S.C. § 727(a)(6) AND IS PROPERLY DISMISSED

 8             Pursuant to the Complaint’s 5th Cause of Action for Nondischargeability of Debt Pursuant to

 9   11 U.S.C. § 727(a)(6), Plaintiff alleges: that prior to and following Judge McHale's entry of the Order

10   Granting Plaintiff’s Motion to Compel Information and Documents from Defendant, that Defendant

11   refused to respond to a material question propounded by Plaintiff in the non-bankruptcy litigation on

12   a ground other than the properly invoked privilege against self-incrimination. (Complaint ¶ 66).

13             Plaintiff’s claim that following Judge McHale's entry of the Order Granting Plaintiff’s Motion

14   to Compel Information and Documents from Defendant, Defendant refused to provide to Plaintiff (or

15   his attorney) the documents required by the Court's order (Complaint ¶ 67), is spurious. Plaintiff does

16   not contest, and concedes that the state court’s order to compel was issued on 6-14-2019 (Complaint

17   ¶ 41), and the Defendant filed bankruptcy 12 days later on 6-26-2019, and no facts were cited other

18   than the filing of the bankruptcy to support Plaintiff’s allegation that Defendant “refused” to comply

19   with the Court’s order. The stay of bankruptcy stayed that 6-14-2019 order.

20             Further, 11 U.S.C. § 727(a)(6)(A) provides that the court shall grant the debtor a discharge,

21   unless (6) the debtor has refused, in the case - (A)to obey any lawful order of the court, other than an

22   order to respond to a material question or to testify. Here, the Complaint admits that the motion to

23   compel was to respond to a material question or to testify, which takes itself out of 11 U.S.C. §

24   727(a)(6) liability. Accordingly, Plaintiff’s 5th Cause of Action under 11 U.S.C. § 727(a)(6) is properly

25   dismissed without leave to amend.

26             i.     PLAINTIFF’S 6TH CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF

27                    ACTION UNDER 11 U.S.C. § 727(a)(7) AND IS PROPERLY DISMISSED

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 1             The Complaint’s 1st cause of action (Complaint ¶ 51) fails to identify the Defendant’s assets

 2   in question that were allegedly transferred, removed, destroyed, mutilated, or concealed, and whether

 3   they were transferred, removed, destroyed, mutilated, or concealed within the one-year pre-filing

 4   period (6-26-2018 through 6-26-2019) pursuant to 11 U.S.C. § 727(a)(2).

 5             Further, the Complaint’s 2nd cause of action (Complaint ¶ 57) fails to identify what information

 6   from which Defendant‘s financial condition or business transactions might be ascertained was

 7   concealed, destroyed, mutilated, falsified, or failed to keep or preserve information within the one-

 8   year pre-filing period (6-26-2018 through 6-26-2019) pursuant to 11 U.S.C. § 727(a)(3).

 9             In fact, the entirety of Plaintiff’s allegations constituting this cause of action are the

10   incorporation of, or the pleading of conclusions based on, the preceding six causes of action, which

11   Defendant has demonstrated herein are without factual support and are improperly pled. Accordingly,

12   Plaintiff’s 6th Cause of Action under 11 U.S.C. § 727(a)(7) is properly dismissed without leave to

13   amend.

14             j.     PLAINTIFF’S 7TH CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF

15                    ACTION UNDER 11 U.S.C. § 727(a)(12) AND IS PROPERLY DISMISSED

16             The Complaint cites no pending proceeding in which the debtor may be found guilty of a

17   felony of the kind described in 11 U.S.C. § 522(q)(1)(A) or liable for a debt of the kind described in

18   11 U.S.C. § 522(q)(1)(B), is not entitled to a discharge of his debts. The WSLCB Report does not

19   even mention the words “felony” or “penal” in it. At best, ¶ 11 of the WSLCB Report merely stated

20   that Plaintiff and other investors are considering legal actions rather civil or criminal, meaning that

21   no such criminal proceeding is currently pending. Accordingly, Plaintiff’s 7 th Cause of Action under

22   11 U.S.C. §727(a)(12) is properly dismissed without leave to amend.

23             k.     PLAINTIFF’S 8th CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF

24                    ACTION UNDER 11 U.S.C. § 523(a)(2)(A) AND IS PROPERLY DISMISSED

25             Nothing in the Plaintiffs’ complaint would satisfy F.R.C.P. 8 and F.R.B.P. 7008, let alone

26   F.R.C.P. 9(b), as to whether a claim has been alleged under 11 U.S.C. § 523(a)(2)(A) for fraud, false

27   pretenses or misrepresentation.

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 1             Plaintiff’s claim that Defendant’s undefined representations were false was without providing

 2   factual allegations to establish this to be the case. Rather, this is a conclusory statement by Plaintiff,

 3   just as the one which follows on its heels - that the “misrepresentations” were made with the intent

 4   do induce Plaintiffs’ reliance thereon.

 5             The failure to perform a mere promise is not sufficient to make a debt nondischargeable, even

 6   if there is no excuse for the subsequent breach. A debtor’s statement of future intention is not

 7   necessarily a misrepresentation if intervening events cause the debtor’s future actions to deviate from

 8   previously expressed intentions. Matter of Scarlata, 979 F.2d 1521 (7th Cir. 1992); see also In re Spar,

 9   176 B.R. 321 (Bankr. S.D.N.Y. 1994); Peoples Security Finance Co. v. Todd (In re Todd), 34 B.R.

10   633 (Bankr. W.D. Ky. 1983).) To be actionable, a misrepresentation must ordinarily be as to past or

11   existing material facts. "[P]redictions as to future events, or statements as to future action by some

12   third party, are deemed opinions, and not actionable fraud." (5 Witkin, Summary of Cal. Law (9th ed.

13   1988) Torts, § 678, pp. 779-780; Richard P. v. Vista Del Mar Child Care Service (1980) 106

14   Cal.App.3d 860, 865.)

15             The debtor’s subsequent insolvency or inability to pay does not by itself provide a sufficient

16   basis for inferring the debtor’s intent. Chase Manhattan Bank v. Carpenter (In re Carpenter), 53 B.R.

17   724 (N.D. Ga. 1985); Montgomery Ward and Co., Inc. v. Blackburn (In re Blackburn), 68 B.R. 870

18   (Bankr. N.D. Ind. 1987).)

19             While Plaintiff argues a material misrepresentation, there is none cited in the Complaint nor

20   in the Report. On this point alone, Plaintiff’s cause of action for fraud fails. Assuming, arguendo, that

21   the undefined material misrepresentation which Plaintiff argues, that is, that Defendant promised to

22   pay back the investment when he somehow knew that he would not, is buried somewhere in the

23   statement of facts, it simply does not qualify as actionable. First, such a representation concerns a

24   future event, and therefore does not satisfy the element of a material misrepresentation of a preexisting

25   fact. Second, the facts negate any such finding. The Debtor made subsequent payments to Plaintiff of

26   $10,000.00 defeating, disproving and negating any possible intent to defraud. If indeed, Defendant

27   intended to defraud and not pay Plaintiff, why did he pay the $10,000.00? Third, a promise to pay

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 1   which is not kept, at best, is a breach of contract, not fraud.

 2             The Plaintiff’s 11 U.S.C. § 523(a)(2) claim states that it is based on the WSLCB Report that

 3   is attached as an exhibit to the Complaint. (Complaint ¶¶ 46, 47, 48, 49) claiming that the WSLCB

 4   Report concluded that Defendant (f) obtained money, property, or services by false pretenses, false

 5   representations, or actual fraud (Complaint ¶ 48(f), however, the WSLCB Report makes no such

 6   finding.

 7             Even where the debtor’s misrepresentations are clearly pled under 11 U.S.C. § 523(a)(2)(A),

 8   the creditor must plead facts which permits the Court to find reasonable reliance on the debtor’s

 9   misrepresentations. The standard for justifiable reliance is subjective as to each creditor and the

10   existence of reliance as required by the statute is determined by the trier of the facts. However,

11   Complaint presented by Plaintiff, the Complaint is devoid of any facts regarding reliance on the

12   Defendant’s alleged. fraudulent misrepresentation.

13             As to Plaintiff’s alleged misrepresentations to Plaintiff (not pled), just the opposite is the case

14   here. Defendant never spoke with Plaintiff nor made any of the arrangements or negotiations regarding

15   the investment.

16             As to Plaintiff’s reasonable reliance (not pled), just the opposite is the case here. Plaintiff’s

17   alleged reliance is not plausible (hence, not reasonable), as Plaintiff is an established investor have

18   made several investments into real estate dealing and others alike conducted due diligence for 4-6

19   months before coming into the participation of the investment. Plaintiff’s claim is further not plausible

20   (hence, not reasonable) as Defendant was asked to sign the LOU which was so Plaintiff could defraud

21   his IRA of knowing what he was investing in (ie., cannabis).

22             Further, Plaintiff’s Complaint admits that his civil suit in Skagit County, Washington State

23   18-2-00544-29 was dismissed due to a confidential settlement that was fully executed and satisfied

24   in full. (Complaint ¶¶ 9-10). That matter being settled, cannot be the basis of this lawsuit.

25   Accordingly, the complaint's 8th cause of action under 11 U.S.C. § 523(a)(2)(A) is properly dismissed

26   without leave to amend.

27             l.      PLAINTIFF’S 9TH CAUSE OF ACTION STILL FAILS TO CITE A CAUSE OF

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 1                    ACTION UNDER 11 U.S.C. § 523(A)(4) FOR FRAUD OR DEFALCATION

 2                    WHILE ACTING IN A FIDUCIARY CAPACITY, EMBEZZLEMENT, OR

 3                    LARCENY AND IS PROPERLY DISMISSED

 4             11 U.S.C. § 523(a)(4) provides an exception to discharge “for fraud or defalcation while acting

 5   in a fiduciary capacity... .” (Emphasis added.)

 6             Plaintiff fails to contest and concedes that no fiduciary exists here, and appears to have

 7   abandoned that criteria.

 8             To the extent that Plaintiff is seeking nondischargeability pursuant to 11 U.S.C. § 523(a)(4)

 9   based on embezzlement, there are no allegation in the Complaint that the Defendant was in rightful

10   possession of Plaintiff’s funds (purportedly held in trust for Plaintiff), that the Defendant converted

11   said funds with intent to defraud Plaintiff and other creditors, and used them for other purposes.

12   Consequently , the Complaint does not state a plausible embezzlement claim. Based on the foregoing,

13   the Complaint does not state a plausible claim for relief based on embezzlement.

14             Based on the foregoing, the Complaint does not state a plausible claim for relief based on fraud

15   or defalcation while acting in a fiduciary capacity, embezzlement, or larceny. Accordingly, the

16   complaint's 9th cause of action under 11 U.S.C. § 523(a)(4) is properly dismissed without leave to

17   amend.

18             m.     PLAINTIFF’S 10TH CAUSE OF ACTION STILL FAILS TO CITE A CAUSE

19                    OF ACTION UNDER 11 U.S.C. § 523(A)(6) FOR WILFUL & MALICIOUS

20                    INJURY AND IS PROPERLY DISMISSED

21             11 U.S.C. § 523(a)(6) excepts from discharge any debt incurred by "willful and malicious

22   injury," and provides in pertinent part: “(a) A discharge under section 727 . . . of this title does not

23   discharge an individual debtor from any debt ... (6) for willful and malicious injury by the debtor to

24   another entity or to the property of another entity.” 11 U.S.C. § 523(a)(6) (emphasis added). In order

25   for a debt to be held nondischargeable under § 523(a)(6), Plaintiff must prove that injury resulted from

26   an act that was both willful and malicious.

27             Plaintiff’s 10th cause of action simply fails to state any factual allegation to support the

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 1   contention that Defendant’s actions were willful and malicious. Willfulness and malice are each

 2   extreme behavior one apart from the other, and the fact that the section requires both to be present

 3   clearly dictates that only the most egregious conduct will warrant nondischargeability: Plaintiff makes

 4   no allegation stronger than a contractual promise that went unfulfilled, which does not even approach

 5   the standard for the sanction sought. Accordingly, the complaint's 10 th cause of action under 11 U.S.C.

 6   § 523(a)(6) is properly dismissed without leave to amend.

 7             n.     PLAINTIFF SHOULD NOT BE GRANTED LEAVE TO AMEND

 8             As readily observed by Plaintiff’s cause of action for fraud, as well as all remaining causes of

 9   action, Plaintiff attempts to convince the Court, and obtain its concurrence, that this dischargeable

10   debt is in fact not so. However, Plaintiff fails miserably, as it cannot plead facts which convincingly

11   meet the elements of the cause of action. Defendant further submits that given the facts, as Plaintiff

12   admits them, the Complaint cannot be amended to create the necessary allegations to proceed further.

13             Generally, granting a motion to dismiss shall be with but with leave to amend. SunPower

14   Corp. v. SolarCity Corp., 2012 WL 6160472 *16 (N.D.Cal.) (citation omitted) ("When dismissing

15   a complaint for failure to state a claim, 'a district court should grant leave to amend

16   even if no request to amend the pleading was made, unless it determines that the pleading could not

17   possibly be cured by the allegation of other facts."'). Here, the Court must find that there are no facts

18   that could cure the deficiencies set forth above. Therefore, the Motion should be granted without leave

19   to amend.

20             o.     CONCLUSION

21             Here, Plaintiff has still not demonstrated, nor can he state a viable and plausible claim under

22   any cause of action in his Complaint.

23             For the above reasons, Defendant prays that this Court dismiss Plaintiff’s Complaint with

24   prejudice, that Plaintiff not be granted leave to amend, that Plaintiff take nothing by his Complaint,

25   and that Defendant’s alleged debt to Plaintiff be discharged.

26             Further, Defendant prays that this Court issue a finding of fact that the claims brought by

27   Plaintiff are dischargeable, and that pursuant to 11 U.S.C. § 524(a)(1) and (2), this discharge should

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 1   also serve to void any future judgment to determine the personal liability of Defendant and operate

 2   as a permanent injunction against any actions whether commenced pre-petition or post-petition.

 3             Further, Defendant prays that this Court award Defendant’s costs and reasonable attorney’s

 4   fees in an amount which will be ascertained, pursuant to 11 U.S.C. § 523(d), F.R.C.P. 11 and F.R.B.P.

 5   9011.

 6             Accordingly, Defendant respectfully requests that the Court enter an order granting the Motion

 7   in its entirety, and providing for such other and further relief as this Court deems just.

 8

 9   DATED:           January 6, 2020                LAW OFFICE OF BARUCH C. COHEN
                                                     A Professional Law Corporation
10
                                                     By     /S/ Baruch C. Cohen
11                                                   Baruch C. Cohen, Esq.
                                                     Attorney For Defendant Guy Griffithe
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                  4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: REPLY TO OPPOSITION TO MOTION TO DISMISS
COMPLAINT OF NONDISCHARGEABILITY AND EXCEPTION FROM DISCHARGE OF DEBTS (1) 11 U.S.C. §
523(a)(2)(A); (2) 11 U.S.C. § 523(a)(2)(B); (3) 11 U.S.C. § 523(a)(4); (4) 11 U.S.C. § 523(a)(6); (5) 11 U.S.C. § 727(a)(2);
(6) 11 U.S.C. § 727(a)(3); (7) 11 U.S.C. § 727(a)(4); (8) 11 U.S.C. § 727(a)(5); (9) 11 U.S.C. § 727(a)(6); (10) 11 U.S.C.
§ 727(a)(7); & (11) 11 U.S.C. § 727(a)(12) will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 1/6/2020,
I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Thomas H Casey (TR)                      msilva@tomcaseylaw.com, thc@trustesolutions.net
United States Trustee (SA)               ustpregion16.sa.ecf@usdoj.gov


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 1/6/2020, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


Heidi Urness, Heidi Urness Law PLLC, 725 E Denny, Seattle, WA 98122


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 1/6/2020,, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


Honorable Theodor C. Albert, 411 West Fourth Street, Suite 5085, Santa Ana, CA 92701-4593


                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/6/2020                       Baruch C. Cohen, Esq.                                           /s/ Baruch C. Cohen
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
